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 5 Attorney for Defendant
   JAIME FLORES
 6

 7                                       UNITED STATES DISTRICT COURT

 8                         IN AND FOR THE EASTERN DISTRICT OF CALIFORNIA

 9

10 UNITED STATES OF AMERICA,                                 No. 2:08-CR-0292 LKK

11                     Plaintiff,
                                                             STIPULATION TO CONTINUE
12            vs.                                            CHANGE OF PLEA; AND ORDER

13 ARMANDO PEREZ, JAIME FLORES,
   NARCISCO MARTINEZ, AND                                    Date: July 20, 2010
14 GUADALUPE GUTIERREZ,                                      Time: 9:15 a.m.
                                                             Judge: Hon. Lawrence K. Karlton
15                     Defendant.

16                                                  /

17                                               STIPULATION

18

19            IT IS HEREBY STIPULATED by and between the parties, through their undersigned

20 counsel that:

21            1.       The parties have resolved the remaining conflicts related to the Plea Agreement as

22 to defendant, JAIME FLORES.

23            2.       In preparation for the expected incarceration following the upcoming Change of

24 Plea, defendant, JAIME FLORES had undergone necessary medical procedures and still has one

25 or two follow-up medical appointments.

26            3.       Accordingly, defendant, JAIME FLORES, requires additional time to complete

27 his medical treatments prior to incarceration.

28

     Stipulation to Continue Status Conference
          Case 2:08-cr-00292-KJM Document 99 Filed 07/19/10 Page 2 of 3


 1            4.       Therefore, it is requested that the Change of Plea, currently scheduled for July 20,

 2 2010, at 9:15 a.m. be continued to September 8, 2010, at 9:15 a.m.

 3            5.       I have spoken with AUSA, Jason Hitt, who has no opposition to this request and I

 4 have confirmed an available date with the Court’s clerk.

 5            6.       That the defendants and the government’s counsel agree that Time shall be

 6 excluded as the interests of justice served by taking such action outweigh the best interest of the

 7 public and the defendant in a speedy trial. Excluding time would allow counsel for defendant the

 8 reasonable time necessary for the effective preparation, taking into account the exercise of due

 9 diligence. Accordingly, the parties agree that time shall be excluded through the next status

10 conference, pursuant to the provisions of the Speedy Trial Act, 18 U.S.C. §3161(h)(8)(A) and

11 (B)(iv).

12            7.       Defendant’s counsel contacted the government’s counsel and received his verbal

13 authorizations to enter the electronic signature below.

14

15 Dated: July 19, 2010                                      LAW OFFICES OF ELENA CONDES

16

17                                                                      /s/
                                                             Elena Condes, Attorney for Defendant,
18                                                           JAIME FLORES

19

20 Dated: July 19, 2010                                      LAWRENCE G. BROWN
                                                             Acting United States Attorney
21

22                                                                     /s/
                                                             By: Jason Hitt,
23                                                           Assistant United States Attorney

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     Stipulation to Continue Status Conference           2
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 5                                       UNITED STATES DISTRICT COURT

 6                         IN AND FOR THE EASTERN DISTRICT OF CALIFORNIA

 7

 8 UNITED STATES OF AMERICA,                               No. 2:08-CR-0292 LKK

 9                     Plaintiff,
                                                           ORDER
10            vs.

11 ARMANDO PEREZ, JAIME FLORES,                            Date: July 20, 2010
   NARCISCO MARTINEZ, AND                                  Time: 9:15 a.m.
12 GUADALUPE GUTIERREZ,                                    Judge: Hon. Lawrence K. Karlton

13                     Defendant.

14                                                 /

15

16                                                 ORDER

17

18            Based upon the above Stipulation, and for good cause appearing, THE COURT HEREBY

19 ORDERS THAT:

20            The defendant, JAIME FLORES’ change of plea in the above-entitled case is continued

21 to September 8, 2010, at 9:15 a.m. and that the time between July 20, 2010 and September 8,

22 2010, is excluded from the speedy trial calculation pursuant to 18 U.S.C. §§ 3161(h)(1)(F) and

23 3161 (h)(8)(B)(iv) and Local Code T4.

24

25            IT IS SO ORDERED.

26

27 Dated: July 19, 2010

28

     Stipulation to Continue Status Conference         3
